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__________________________________________________________________
                                              SO ORDERED,




                                              Judge Jamie A. Wilson
                                              United States Bankruptcy Judge
                                              Date Signed: February 28, 2023


            The Order of the Court is set forth below. The docket reflects the date entered.
__________________________________________________________________


                         UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF MISSISSIPPI

IN RE:

       CHARLOTTE DEAN DAVIS AND                                         CASE NO. 21-01647-JAW
       PATRICK K. DAVIS,

               DEBTORS.                                                             CHAPTER 13

CHARLOTTE DEAN DAVIS AND                                                             PLAINTIFFS
PATRICK K. DAVIS

VS.                                                                   ADV. PROC. 23-00003-JAW

ITAVIUS BURKS; ALISON CRAPPS,
SCOTT COUNTY TAX ASSESSOR;
BETTY ODOM, JUSTICE COURT CLERK;
MISSISSIPPI DEPARTMENT OF REVENUE                                                 DEFENDANTS

           ORDER SETTING ASIDE JUSTICE COURT’S EVICTION ORDER

   This matter came before the Court for a hearing on February 28, 2023 (the “Hearing”), on the

request of the debtors, Charlotte Dean Davis and Patrick K. Davis (“Debtors”), to set aside an

order issued by the Justice Court of Scott County, Mississippi (the “Justice Court”) evicting them

from their mobile home (the “Eviction Order”) (Ex. A). The Debtors requested the relief on an

emergency basis in the Complaint to Set Aside Tax Sale and for Expected Hearing (the “Com-

plaint”) (Adv. Dkt. #1) filed in the above-referenced adversary proceeding (the “Adversary”). At

the Hearing, Thomas C. Rollins, Jr. represented the Debtors.

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                                                 Jurisdiction

    The Court finds that it has jurisdiction over the parties to and subject matter of this proceeding

pursuant to 28 U.S.C. § 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and

(O). Notice of the Hearing was proper under the circumstances.

                                                     Facts 1

    The Debtors commenced the above-referenced bankruptcy case by filing a chapter 13 petition

for relief on October 4, 2021. (Case No. 21-01647-JAW, Dkt. #1). The Debtors live in a mobile

home located in Scott County, Morton, Mississippi. They valued the mobile home in their bank-

ruptcy schedules at $20,000.00. (Case No. 21-01647-JAW, Dkt. #4 at 3).

    While the bankruptcy case was pending, the 2021 ad valorem tax on the mobile home became

due. The Debtors mailed a check to the Scott County Tax Assessor/Tax Collector in the amount

of $95.00, but the check was apparently lost in the mail. Notwithstanding the Debtors’ active bank-

ruptcy case, the Scott County Tax Assessor/Tax Collector conducted a tax sale on October 31,

2022, and Itavius Burks (“Burks”) purchased the mobile home. Burks thereafter filed a complaint

in Justice Court to evict the Debtors from their home.

    After a hearing, the Justice Court entered the Eviction Order requiring the Debtors to vacate

the mobile home by 5:00 p.m. on February 6, 2023 (Ex. A). The Debtors allegedly informed the

Justice Court of the pending Bankruptcy Case, but the Justice Court nevertheless proceeded with

entering the Eviction Order.

    The Debtors filed the Complaint initiating the Adversary on February 13, 2023. The next day,

they served a copy of the Complaint, and the Summons and Notice of Hearing in an Adversary

Proceeding (Adv. Dkt. #4) on Burks; Alison Crapps, Scott County Tax Assessor; Betty Odom,


1
 The Court makes the following findings of fact and conclusions of law in accordance with Rule 7052 of the Federal
Rules of Bankruptcy Procedure.

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Justice Court Clerk; and the Mississippi Department of Revenue. (Adv. Dkt. #4). In the Complaint,

the Debtors maintain that the tax sale is void and in violation of the automatic stay under 11 U.S.C.

§ 362(a)(3). They also allege that the tax sale was not properly noticed under Mississippi law.

They ask the Court to set aside both the tax sale and the Eviction Order.

   As to their request for emergency relief, the Debtors ask the Court only to set aside the Eviction

Order so that they may remain in the mobile home without fear of forced eviction. They do not

ask the Court to set aside the tax sale at this time and indicated that they would pursue that specific

relief later in the pending Adversary. No response was filed, and no one other than the Debtors

and their counsel appeared at the Hearing.

                                             Discussion

   The property of a debtor’s estate, wherever located, is protected by a stay that goes into effect

automatically upon the filing of a bankruptcy petition pursuant to 11 U.S.C. § 362(a). The auto-

matic stay prohibits creditors from taking “any act to obtain possession of property of the estate or

of property from the estate or to exercise control over property of the estate” outside the procedures

of the bankruptcy forum. 11 U.S.C. § 362(a)(3). The stay is among the most fundamental protec-

tions afforded debtors under the Bankruptcy Code. Campbell v. Countrywide Home Loans, Inc.,

545 F.3d 348, 353 (5th Cir. 2008). In this jurisdiction, “actions taken in violation of the automatic

stay are not void, but rather they are merely voidable, because the bankruptcy court has the power

to annul the automatic stay pursuant to section 362(d).” Jones v. Garcia (In re Jones), 63 F.3d 411,

412 (5th Cir. 1995).

   There is no dispute that the mobile home is property of the bankruptcy estate, that Burks initi-

ated the eviction proceedings during the pending bankruptcy case in an attempt to obtain posses-

sion of the mobile home, and that relief from the automatic stay was not granted to Burks to allow



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the eviction to occur. The Court, therefore, finds that the Eviction Order is voidable as a violation

of the stay. The Court further finds that because there is an absence of any equitable circumstances

in the case at bar, the Eviction Order is void ab initio and due to be set aside as having no further

legal effect. This result is consistent with decisions holding that tax sales for delinquent ad valorem

tases are “void if the automatic stay is not lifted before the sale occurs.” Key v. Cannon (In re Key),

276 B.R. 452, 455 (Bankr. N.D. Miss. 2000); see also Franklin Credit Management Corp. v.

Woods (In re Woods), Adv. Proc. 10-00016-EE (Bankr. S.D. Miss. July 15, 2011), Dkt. #72.

                                             Conclusion

   For the reasons discussed above, the Court finds that the emergency relief requested by the

Debtors should be granted.

   IT IS, THEREFORE, ORDERED that the Eviction Order is hereby set aside as void ab initio

and that the automatic stay remains in effect.

                                   ##END OF ORDER##




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